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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                       CENTRAL DIVISION AT FRANKFORT

UNITED STATES OF AMERICA,                  )
                                           )
        Plaintiff,                         )         Criminal Action No.
                                           )            3:08-cr-31-JMH
v.                                         )
                                           )
CHRISTOPHER CELLO SMITH,                   )
                                           )     MEMORANDUM OPINION AND ORDER
        Defendant.                         )


                         **      **        **      **       **

        This matter is before the Court on the United States of

America’s Motion to Stay Sentencing of Defendant Christopher Cello

Smith     [DE   414]   in     which   it       argues     that   this    Court      lacks

jurisdiction to enter a sentence due to the pendency of an appeal

to the United States Court of Appeals for the Sixth Circuit.                         The

Court     being     adequately    advised,         this     motion      is   ripe    for

consideration and shall be denied for the reasons set forth below.

        As a general matter, “[i]t is well settled that the filing of

the notice of appeal with the district court clerk deprives the

district court of jurisdiction to act in matters involving the

merits of the appeal.”         U.S. v. Holloway, 740 F.2d 1373, 1382 (6th

Cir. 1984).       Thus, once a notice of appeal is filed, this Court may

only enter remedial orders not affecting the merits of the appeal

or proceed with the case only if the notice of appeal is from a

patently non-appealable order.             Holloway, 740 F.2d at 1382 (citing

Jago v. United States District Court, 570 F.2d 618 (6th Cir. 1978);

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Cochran v. Birkel 651 F.2d 1219 (6th Cir. 1981)).             The Court must

consider, then, whether it may proceed under one of these stated

exceptions to the jurisdictional transfer doctrine.                    In this

instance, the Court is persuaded that it may proceed as the United

States’ Notice of Appeal [DE 385] purports to lie from a patently

non-appealable order.

       The United States may take an appeal in a criminal matter

under certain limited circumstances relevant to the inquiry at

hand, as follows:

              In a criminal case an appeal by the United
              States shall lie to a court of appeals from a
              decision, judgment, or order of a district
              court dismissing an indictment or information
              or granting a new trial after verdict or
              judgment, as to any one or more counts, or any
              part thereof, except that no appeal shall lie
              where the double jeopardy clause of the United
              States    Constitution    prohibits    further
              prosecution.


18 U.S.C. § 3731 (emphasis added).

       The United States’ Notice of Appeal [DE 385] concerns itself

with the Court’s September 1, 2010, Memorandum Opinion and Order

[DE    379]   granting   Defendant   Smith’s    Motion     for   Judgment     of

Acquittal and setting aside the jury’s verdict of guilty on Count

17 as to him.      Notably, the Court’s Memorandum Opinion and Order

neither dismisses the indictment nor grants a new trial.                Rather,

it anticipates but leaves the dismissal of Count 17 for another

day.    Thus, the United States’ Notice of Appeal, upon which it


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grounds its present motion, is premature as the Memorandum Opinion

and Order which it addresses is patently unappealable under 18

U.S.C. § 3731.

     Accordingly, IT IS ORDERED that the United States’ Motion to

Stay Sentencing of Defendant Christopher Cello Smith [DE 414] is

DENIED.

     This the 5th day of January, 2011.




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